                    Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 1 of 6
,,.
                                                                                        AJLaRosa
      Burlington Development Review Board                                            Caitlin Halpert
                                                                                   Brad Rabinowitz
       645 Pine Street
                                                                                    Geoffrey Hand
       Burlington, VT 05401                                                       Brooks McArthur
      www.burlingtonvt.gov/DPI/DRB                                                    Chase. Taylor
      Phone:    (802) 865-7188                                                        Leo Sprinzen
                                                                               Sean McKenzie (Alt.)
                                                                                 Emily O'Hara (Alt.)



                                                                  Burlington Development Review Board
                                                                                        Findings of Fact
                                                         Deliberative Hearing Tuesday, January 11, 2023

          In RE: ZP-22-576; 20 Pine Street (Ward 3C, FD6) (Tax Lot No. 044-2-010-000)

          Owner/Applicant: John Caulo, LandPlan / Cathedral of the Immaculate Conception Charitable
          Trust; Monsignor Peter Routhier

          Request: Demolition and removal of existing church building, bell tower, parking lot, and
          impervious pathways. Foundation hole to be filled and site will be graded and seeded. Planned
          landscape with trees will be retained.

          Members Present:
                      AJ LaRosa
                      Caitlin Halpert
                      Brad Rabinowitz
                      Brooks McArthur
                      Chase Taylor
                      Leo Sprinzen

         Evidence Presented:
         The Board examined the materials submitted in support of this request along with the testimony
         of Applicant, submissions from members of the public entered into the record and testimony
         from members of the public.

         I. FINDINGS

         Background Information:
         The applicants are seeking approval to demolish the building and all site improvements (parking
         area, walkways, and bell tower). The trees and lawn would remain. No development would
         remain on the lot, nor would there be any use.

         20 Pine Street is a significant property within the city's downtown. It was identified within a
         2010 Survey ofModern Architecture in Burlington funded with grant funds from the National
         Park Service through the Vermont Division for Historic Preservation and awarded to
         Burlington's Certified Government Program.

         There is also a substantial body of evidence, including articles in national publications attesting
         to the importance of the structure and its companion landscape, in part due to the association
               Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 2 of 6




    with the specific design professionals (Edward Larrabee Barnes and Dan Kiley) and the notable
    architectural style and siting of the building within the landscape. 1

Neither the building nor the landscape have been listed on the state or National Register of
Historic Resources. Both, however, were determined eligible for listing during the Consultation
Process for the Transit Center project on St. Paul Street in 2013. The Vermont Division for
Historic Preservation resolutely defined both the building and landscape design as eligible under
Criteria Consideration G (Properties That Have Achieved Significance Within the Last Fifty
Years.) A revised agreement between Federal Highway Administration, Vermont Agency of
Transportation, and the Vermont Division for Historic Preservation incorporated
acknowledgement of the eligibility of these properties within the Area of Potential Effect (APE).
The building is not fifty years old; it is forty-five years old.

The subject-property is permitted as a place of worship and continues to be owned by a religious
institution. Although worship services have ceased, no change in use of the property has been
sought or permitted. A place of worship is a permitted use in the Comprehensive Development
Ordinance. As such, it does not expire after a year of discontinuance like nonconforming uses
do.

Vermont Statute limits municipal review under 24 V.S.A. §4413 in the following circumstances:
   (a) (1) The following uses may be regulated only with respect to location, size, height,
        building bulk, yards, courts, setbacks, density of buildings, off-street parking, loading
       facilities, traffic, noise, lighting, landscaping, and screening requirements, and only to
        the extent that regulations do not have the effect of interfering with the intended
       functional use:
        (C) churches and other places of worship, convents, and parish houses.

The property is located within the city's downtown, in the FD6 form code district. The
application review standards of Article 14: PlanBTV Downtown Code apply. The statutory
limitations noted in 24 V.S.A. §4413 substantially limit those review standards. Similarly, the
standards for review of changes to historic structures under CDO Sec. 5.4.8, Historic Buildings
& Sites, do not apply.

Application review process and criteria are two different things. Application review process is
either administrative or Board review. The Comprehensive Development Ordinance specifics
review process for all application types. Alternative compliance requires Board review.
Application review criteria pertain regardless of review process. In this case, the application
requires Board review. The applicable review criteria in this case are substantially limited by 24
V.S.A. §4413.

Sec. 14.2.2-Applicability of the PlanBTV Downtown Code states that all development comply
with the standards of the code. Removal of the building and site improvements does not comply
with the application review standards of Article 14. Sec. 14.7.3-Variationfrom the Form:
Administrative Relief, DRB Alternative Compliance, and Variances, articulates several
alternative paths for work not in compliance with the review standards of Article 14. The

1   See Architectural Record, January 1979 and Architecture + Urbanism, June 1981.

ZP-22-576 Minutes/FOF                           pg. 2 of6
           Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 3 of 6




proposed work does not fall within the limits afforded by administrative or board relief and
likely does not satisfy variance criteria. Alternative compliance is applicable for this application
and requires review by the Development Review Board in consultation with the Design Advisory
Board.

The Design Advisory Board reviewed this application December 13, 2022 and unanimously
recommended denial per the following motion:

        The applicant should reconsider demolition and consider ways to keep the
        building and its landscape intact. We request that the City Attorney confirm
        whether Sec. 5.4.8 applies or not. There are other resources, like Patricia
        0 'Donnel, that might provide leeway in the interpretation of standards to
        consider preservation. The DRB should review the full application packet to get
        a sense of the importance of this property to the community.

There is no question that the property is significant. The limited review under 24 V.S.A. §4413;
however, precludes consideration of that significance under CDO Sec. 5.4.8, Historic Buildings
& Sites and much of Article 14: PlanBTV Downtown Code. Though even if24 V.S.A. §4413 did
not apply, the provisions of 5.4.8 do not as the building does not qualify as a historic building
under Article 5. It is not yet fifty years old. These findings reflect the input of the City Attorney.

Prior zoning actions for the property.
    • Zoning Permit 20-0810FC; fence installation. April 2020. (20 Pine Street)
    • Zoning Permit 00-611; demolish two unit residential structure for additional open space
        for the existing Catholic Church on the same parcel. (76 Cherry Street). Permit Denied,
        June 2000.
    • Zoning Permit 76-477 / Certificate of Appropriateness 75-48; Erect a 105' 1 ¾" x
        162'6" Church on the premises at 84 Cherry Street, with boundaries [sic] on St. Paul and
        Pine Streets. Also to create a 26 car off street parking area and landscape. October 22,
        1975.

 Article 14: PlanBTV Downtown Code
 Section 14.7.2 Non-Conformities
In addition to that as specified in Article 5, Part 3 Non-Conformities of the Burlington
 Comprehensive Development Ordinance, any Building, Structure, Frontage, Development, Site,
Improvement, or other appurtenance thereto which lawfully existed at the time of adoption of the
 applicable provision of this Article or any amendment thereto may be continued subject to the
following provisions:
    a) Nothing in these regulations are intended to prevent normal repair and maintenance
        necessary to keep a Building, Structure, Site, Improvement or other appurtenance thereto
        in a safe and sound condition;

    b) Any Building, Structure, Frontage, Development, Site, Improvement, or other
       appurtenance thereto which legally existed on the effective date of this Article that does
       not conform to the requirements of this Article may continue until a Substantial
       Modification is requested or Abandonment occurs.


ZP-22-576 Minutes/FOF                      pg. 3 of6
           Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 4 of 6




    c) Any nonconforming structure may be enlarged, maintained, repaired or altered,
       provided, however, that no enlargement, maintenance, repair or alteration shall either
       create an additional nonconformity or increase the degree of the existing nonconformity
       of all or any part.

    d) At such time when a Substantial Modification is requested or Abandonment occurs, only
       the affected portions(s) of the Building, Structure, Frontage, Development, Site,
       Improvement, or other appurtenance thereto shall be required to comply with the
       applicable provisions of this Article and to the greatest extent practicable in the
       determination of the Administrative Officer or unless relief is provided by the DRB
       pursuant to Sec. 14. 7. 3 below;

       and
    d) Buildings listed or eligible for listing on the State or National Register ofHistoric Places
       shall not be required to make any modifications under this section that would threaten
       their historic integrity.

The property, in its existing developed conditions, is nonconforming. The proposed demolition
removes that nonconformity and replaces it with no development or use. The demolition is not a
"substantial modification" as defined in Sec. 14.8-Glossary and, therefore, does not require that
the property be brought into compliance with the standards of Article 14. Lacking applicability
of Sec. 5.4.8, Historic Buildings & Sites, redevelopment is not a requirement of demolition.
(Affirmative finding)

 Article 14.7.3 Variation from the Form: Administrative Relief, DRB Alternative
 Compliance, and Variances
 The planBTV Downtown Code is intended to result in By-Right approval where development
 occurs strictly in conformance with the requirements of the applicable Form District. In some
 instances, however, it may be necessary to vary the prescribed form in order to accommodate
 unique site and/or building circumstances in order to promote context-sensitive development. In
such instances, an applicant may seek Administrative or Development Review Board approval
for relieffrom the requirements as set forth below. Any and all relieffrom the prescribed
standards shall run with the land and be binding on ·the Property Owner and its/their successor
and assigns. Applications requesting reliefshall be made in writing and in the form as
determined by the Department.

Demolition is not expressly enabled or prohibited by Article 14. Demolition alone is not
addressed at all. Even under the statutory limitations of 4413, form code standards as to building
bulk, height, setbacks, etc. apply; however, in this case, the end result lacks anything to comply.
A currently developed site is being converted to an entirely undeveloped site with no use at all.

The act of demolition requires a zoning permit. The proposed work does not comply with the
standards of Article 14 and, therefore, requires review under Alternative Compliance. The
review criteria of Alternative Compliance are substantially limited by 24 V.S.A. §4413, and the



ZP-22-576 Minutes/FOF                    pg. 4 of6
              Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 5 of 6




complete demolition of the building and all site improvements leaves nothing to comply.
(Affirmative finding)

(b) Alternative Compliance Granted by the Development Review Board
Additional relieffrom the prescribed standards may be granted by the
Development Review as provided below:

   i.      DRB Alternative Compliance: Relieffrom any non-numerical standard, and any
           numerical standard by no more than 20% ofsuch requirement or an additional I 0%
           beyond any Administrative Reliefpermitted above, may be granted by the Development
           Review Board after review and recommendation by the Design Advisory Board and a
           Public Hearing. Decisions by the DRB regarding any Alternative Compliance granted
           shall be made in writing and upon affirmative findings that:

        A. the relief sought is necessary in order to accommodate unique site and/or Building
           circumstances or opportunities;
           Necessity ofrelief is beyond the scope ofreview enabled by 24 V.S.A. §4413.

        B. the relief if granted is the minimum necessary to achieve the desired result;
           Whether the relief granted is the minimum necessary is beyond the scope of review
           enabled by 24 V.S.A. §4413.

        C. the property will otherwise be developed consistent the purpose of this ordinance, the
           intent of the Form District, the intent and purpose of the section that the relief is being
           sought, and all other applicable standards;
           How the property will otherwise be developed is beyond the scope of review enabled by
           24 V.S.A. §4413.

        D. the relief if granted will not impose an undue adverse burden on existing or future
           development of adjacent properties;
           Burden on the development of adjacent properties is beyond the scope of review enabled
           by 24 V.S.A. §4413.

        E. the relief if granted will yield a result equal to or better than strict compliance with the
           standard being relieved.
           Determination or equal or better end result is beyond the scope of review enabled by 24
           V.S.A. §4413.


II. MINUTES

The meeting minutes will be distributed separately upon review and approval by the
Development Review Board.

III. MOTION



ZP-22-576 Minutes/FOF                        pg. 5 of6
           Case 2:23-cv-00039-cr Document 1-1 Filed 02/15/23 Page 6 of 6




 Motion: Caitlin Halpert
 I move that the Board grant approval for demolition and removal of the existing church building,
 bell tower, parking lot, and impervious pathways and for the foundation hole to be filled,.the site
 to be graded and seeded, and for the trees to be retained, based on the findings in Section I above
 and subject to the following conditions:

   1. 24 VSA, Sec. 4413 does apply to this application and limits review. Though if it did not
      apply, section 5.4.8 does not. While the building is architecturally unique, it is not
      historic under the criteria of Burlington CDO Sec. 5.4.8.
   2. Upon the representation of the applicant, the grove of trees shall remain after demolition.
      This is a critical condition of this approval.
   3. The chain link fence shall come down.
   4. The Applicant/Property Owner is responsible for obtaining all necessary Zoning Permits
      and Building Permits through the Department of Public Works as well as other permit(s)
      as may be required.
   5. Standard Conditions 1-15.

Seconded: Brooks McArthur

Vote: 4-2-0, motion carried

Dated at Burlington, Vermont, this 17thday of January 2023

Respectfully Submitted,


         sa, Development Review Board Chair



Please note that an interested person may appeal a decision of the Development Review
Board to the Vermont Superior Court Environmental Division. (Zoning Ordinance Article
17, Section 17.1.7, Appeals of Development Review Board Decisions: An interested person
may appeal a decision of. the De:velopmen_t_R~J[i.~ ~. ~Jt..3.tJttoJbe Vermon.tSuperior:,_C~rn.xt
Environmental Division. The appeal shall be taken lo such a manner as the supreme court
may by rule provide for appeals from state agencies governed by Sections 801 through 816
of Title 3). The Court rules may require that such an appeal be commenced within Thirty
(30) days of the Board's decision.




ZP-22-576 Minutes/FOF                     pg. 6 of6
